PROB. 12
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for
WESTERN DISTRICT oF TENNESSEE 95 JUH 13 PH 3: 33
U. s. A.vs. KRlsTALYN ADAIR BECToN noeketNoFih_“_, _ ii . 0
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Petition on Probation and Supervised Release

COMES NOW Nicole D. Peterson PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Kristalyn Adair Becton who was placed on supervision by the
Honorable Jon Phipps McCalla sitting in the Court at Mem_p_his, TN on the 16th day of Augi_ist, 20_0_9_ who
fixed the period of supervision at five (5} years , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed special conditions and terms as follows:

(I) The defendant shall participate in the Horne Detention program for a period of four (4) months. During this
time, defendant will remain at defendant’s place of residence except for employment and other activities
approved in advance by the defendant’s probation officer. Defendant will be subject to the standard
conditions of Home Detention adopted for use in the Western District of Tennessee, which may include the
requirement to Wear an electronic monitoring device and to follow electronic monitoring procedures specified
by the probation ofiicer. (Completed).

(2) The defendant shall not visit any casinos or gambling establishments

(3) The defendant shall pay restitution in the amount of $l 8,808.97 at the rate often (I 0) percent of her gross
monthly income, said payment to be due within five (5) days of the end of each month. (Outstanding balance:
$14,878.97)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Ms. Becton has failed to satisfy her restitution obligation of $18,808.97. She continues to owe a balance of
$14,878.97. At the beginning of her term of supervision, Ms. Becton had some diHiculty maintaining employment
and paying her restitution However, she has been employed at the same company for over a year. Unfortunately,
the company sometimes reduces her hours or is closed due to a slow market Regardless, Ms. Becton is enrolled in
an automatic payroll deduction equaling $200.00 per month. This deduction will remain in place as long as Ms.
Becton maintains employment with her current employer.

PRAYING THAT THE COURT WILL ORDER that Ms. Becton’s Probation term be allowed to terminate as
scheduled on August 15, 2005 With the understanding that the U.S. Attomey’s Offlce Financial Litigation Unit will be
responsible for the continued collection of restitution

ORDER OF COURT Respectfully,

 

Cons/idered and ordgred this 13 day 7\)\ M 7
of g l gao , 20 O-" , and ordered filed Nicole D. Peterson
and made a part of the records in the above United States Probation Ofiicer

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7 ind C*M'\ Place: Memnhis. TN

UC|ity/States District Judge
l Date: June 6. 2005 _
Thls document entered on the docket sheet in compliance

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UNITED s…ATEISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:00-CR-20055 Was distributed by faX, mail, or direct printing on
.lune 13, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

